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                   UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

              v.
                                               Case No. 12-cr-07-02/04-SM
Jeremy Martin, Nicholas Sheffler
and Joseph Hasan,
      Defendants

                                      ORDER

        Defendant Nicholas Sheffler has filed an Assented to Motion to Continue the

final pretrial conference and trial for 60 to 90 days, which motion is granted

(document no. 38).      Trial has been rescheduled for the August 2012 trial period.

Defendant Sheffler shall file a waiver of speedy trial rights not later than May 4,

2012.      On the filing of such waiver, his continuance shall be effective.



        The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for August 10, 2012 at 10:30 a.m.

      Jury selection will take place on August 21, 2012 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                          Steven J. McAuliffe
                                          U.S. District Judge

April 25, 2012

cc:   Cathy Green, Esq.
      Charles Keefe, Esq.
      Jonathan R. Saxe, Esq.
      Andrew Kennedy, Esq.
      Seth Aframe, AUSA
      U.S. Marshal
